                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       No. 2:17-CR-66
                                              )
CURTIS CARPENTER                              )

                       MOTION FOR COMPASSIONATE RELEASE

       Defendant Curtis Carpenter through undersigned counsel, hereby moves this Honorable

Court pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) to reduce his sentence to time served or in the

alternative, to order he serve the balance of his sentence on Home Confinement or Supervised

Release. As amended by the First Step Act, the compassionate release statute allows courts to

reduce sentences for “extraordinary and compelling” reasons.            The growing coronavirus

pandemic is an extraordinary and compelling circumstance. The coronavirus and the disease it

causes is currently present and extremely dangerous in the prison facility in which Mr. Carpenter

is confined, and likely to be present and dangerous in any other correctional institution. Because

of his underlying health conditions, Mr. Carpenter is among those at highest risk of death or serious

illness if he is exposed to the disease. He has hypertension, diabetes, obesity, hyperlipidemia, and

a history of pneumonia. These conditions, especially in combination, place him at heightened

risk of death or serious illness if he contracts COVID-19. His immediate release is necessary.



I.     Statutory Framework for Sentence Reduction Authority Under 18 U.S.C.
       § 3582(c)(1)(A)(i)

       The Sixth Circuit succinctly set forth the statutory framework established by the First Step

Act for considering a compassionate release request filed on behalf of a prisoner. United States

v. Hampton, ___ F.3d ___ (6th Cir. Jan. 19, 2021).

              By statute, three substantive requirements must be met before a district court may
       grant compassionate release. 18 U.S.C. § 3582(c)(1)(A); Ruffin, 978 F.3d 1000, 1004–05
       (6th Cir. 2020). First, the court must determine that “extraordinary and compelling reasons
       warrant” a sentence reduction. Ruffin, 978 F.3d at 1004 (quoting 18 U.S.C. §
       3582(c)(1)(A)(i)). Second, the court must find that such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission, see U.S.S.G. § 1B1.13.
       Ruffin, 978 F.3d at 1005. Third, the court must consider the applicable § 3553(a) factors.
       Id.; see 18 U.S.C. § 3582(c)(1)(A).

               Historically, only the Bureau of Prisons was authorized to seek an inmate’s release
       under § 3582(c)(1)(A). See Jones, 980 F.3d 1098, 1104 (6th Cir. 2020) (citing 18 U.S.C. §
       3582(c)(1)(A) (1984)). But with the passage of the First Step Act, a prisoner may bring
       such a motion on his own accord, a practice we now see somewhat routinely in light of the
       COVID-19 pandemic. See 18 U.S.C. § 3582(c)(1)(A) (2017). And when a prisoner does
       so, the First Step Act renders U.S.S.G. § 1B1.13 inapplicable, meaning district courts enjoy
       “full discretion to define ‘extraordinary and compelling’ without consulting the policy
       statement § 1B1.13.” Jones, 980 F.3d at 1111. That leaves a district court to focus on steps
       one and three, as it may now “skip step two of the § 3582(c)(1)(A) inquiry.” Id.

Hampton gives this Court full discretion to determine what is extraordinary and compelling in each

individual case that comes before the Court. Mr. Carpenter asks this Honorable Court to consider

his circumstances as establishing extraordinary and compelling reasons to justify the reduction in

his sentence.



II.    Relevant Facts and Procedural History

       Mr. Carpenter has been in custody since his arrest on July 19, 2017, now for approximately

43 months. He was convicted of conspiracy to distribute 50 grams or more of methamphetamine

and sentenced to 172 months’ incarceration. Mr. Carpenter is scheduled to be released from the

BOP on September 30, 2029. Mr. Carpenter now faces the threat of dying a painful death behind

bars due to COVID-19, exacerbated by his serious health conditions.

       With the proper conditions in place on supervised release or home confinement, Mr.

Carpenter would present virtually zero risk of danger to the community. He is more than willing

to comply with any conditions the Court and probation department see fit. Due to his health




                                                2
conditions, Mr. Carpenter is at high risk of death or serious illness if he is exposed to Covid-19.

Thus, he wishes to quarantine himself and protect himself from this virus.



III.    Mr. Carpenter has exhausted administrative remedies pursuant to 18 U.S.C. §
(c)(I)(A)(i).

       Mr. Carpenter requested a release from the Warden on April 12, 2020 and was denied on

April 22, 2020. (See Exhibit 1, Warden’s Denial). It appears Mr. Carpenter has now exhausted

the available administrative remedies provided through the Bureau of Prisons.

       It has also become clear that the BOP will not endorse a compassionate release motion

based on an elevated risk from Covid-19. (See Exhibit 2, Petrossi Denial Letter.) That is

because the BOP’s Program Statement does not make a pandemic “a qualifying factor that would

warrant a motion be filed with the sentencing court.” Id.


IV.    BOP Precautions Have Not Been Effective in Protecting Inmates from COVID-19

       COVID-19 has infected more than 15.5 million people worldwide, leading to more than

634, 766 deaths. Coronavirus COVID-19 Global Cases, Center for Systems Science and

Engineering (CSSE) at Johns Hopkins University, https://coronavirus.jhu.edu/map.html

(updating regularly) (last accessed July 24, 2020).

       A number of judges have found the BOP’s response to the COVID-19 pandemic to be

inadequate. See United States v. Hammond, 2020 WL 1891980, at *9 (D.D.C. Apr. 16, 2020)

(responding to the government’s argument that “BOP is prepared to deal with pandemics such as

the coronavirus” by noting the hundreds of positive cases and sixteen inmate deaths that resulted

“[d]espite the precautions taken by BOP; United States v. Atkinson, 2020 WL 1904585, at *3 (D.

Nev. Apr. 17, 2020) (noting the “obvious shortcomings” in BOP’s Action Plan and expressing

dissatisfaction with BOP’s response to the defendant’s application for compassionate release).
                                                 3
COVID-19 has spread quickly in the BOP, reaching at least 146 locations. 848 inmates and 1,615

staff members are confirmed positive as of March 4, 2021. There have been 46,876 inmates and

4,907 staff members that have recovered as of March 4, 2021. Additionally, 224 inmates and 4

staff members have died.       www.bop.gov/coronavirus (providing daily tallies of confirmed

infections) (last accessed March 4, 2021). And these are just the confirmed infections. “It is

unknowable whether BOP detainees or inmates have COVID-19 until they are tested, and BOP

has not conducted many or any such tests because, like the rest of the country, BOP has very few

or no actual Covid-19 test packets.” Order at 5, United States v. Caddo, No. 3:18-cr-08341-JJT

(D. Ariz. Mar. 23, 2020).

       As of May 1, 2020, 70% of all inmates the BOP had tested for COVID-19 were positive.1

At that time, only 2,700 of the 146,000 BOP inmates in the country had been tested, indicating

that the numbers of inmates with COVID-19 was much higher than what had been reported. Id.

The BOP has now administered around 24,000 tests, and the results continue to rise, reflecting a

much higher infection rate in the BOP than in the general population, which can be observed in

the following illustrations:



                  BOP-Reported COVID-19 Test Results Nationwide2




1 “70% of inmates tested have COVID-19: Bureau of Prisons” ABC News (May 1, 2020) at
https://abcnews.go.com/US/70-inmates-tested-covid-19-bureau-prisons/story?id=70454527.
2 Numbers obtained from www.bop.gov/coronavirus on a daily basis. There is good reason to
believe that the numbers reported by the BOP understate the actual number of tested-positive
cases. Compare M. Licon-Vitale, MCC Ward, and D. Edge, MDC Warden, Response to EDNY
Administrative Order 2020-14 (Apr. 7, 2020) at
https://www.nyed.uscourts.gov/pub/bop/MDC_20200407_042057.pdf (3 positive inmates at
MDC Brooklyn) with COVID-19 Cases Federal Bureau of Prisons (Apr. 7, 2020) at
www.bop.gov/coronavirus (2 positive inmates at MDC Brooklyn).
                                               4
            Number Number Number Number Number
                                                         Number Total
              of        of       of     of        of
  Date                                                   of Staff BOP
            Positive Recovered Inmate Positive Recovered
                                                         Deaths Cases
            Inmates Inmates    Deaths  Staff     Staff

3/20/2020     0                 0         2                0      2
3/21/2020     1                 0         2                0      3
3/22/2020     1                 0         2                0      3
3/23/2020     3                 0         3                0      6
3/24/2020     6                 0         3                0      9
3/25/2020     6                 0         3                0      9
3/26/2020     10                0         8                0     18
3/27/2020     14                0        13                0     27
3/28/2020     19                1        19                0     39
3/29/2020     19                1        19                0     39
3/30/2020     28                1        24                0     53
3/31/2020     29                1        30                0     60
4/1/2020      57                3        37                0     97
4/2/2020      75                6        39                0     120
4/3/2020      91                7        50                0     148
4/4/2020     120                8        54                0     182
4/5/2020     138                8        59                0     205
4/6/2020     196                8        63                0     267
4/7/2020     241                8        72                0     321
4/8/2020     272                8        105               0     385
4/9/2020     283       14       8        125      7        0     437
4/10/2020    318       15       9        163      8        0     513
4/11/2020    335       15       9        185     12        0     556
4/12/2020    352       19       10       189     12        0     582
4/13/2020    388       19       13       201     12        0     633
4/14/2020    446       20       14       248     13        0     741
4/15/2020    451       49       16       280     18        0     814
4/16/2020    473       64       18       279     23        0     857
4/17/2020    465      113       18       296     25        0     917
                                     5
4/18/2020   479    145    21       305   26    0   976
4/19/2020   495    155    22       309   29    0   1010
4/20/2020   497    205    22       319   33    0   1076
4/21/2020   540    220    23       323   49    0   1155
4/22/2020   566    248    24       342   52    0   1232
4/23/2020   620    302    24       357   53    0   1356
4/24/2020   649    380    25       336   98    0   1488
4/25/2020   730    383    26       317   124   0   1580
4/26/2020   799    385    27       319   124   0   1654
4/27/2020   1046   390    28       330   124   0   1918
4/28/2020   1314   404    30       335   132   0   2215
4/29/2020   1534   414    31       343   132   0   2454
4/30/2020   1692   426    33       349   132   0   2632
5/1/2020    1842   509    36       343   146   0   2876
5/2/2020    1919   515    37       349   147   0   2967
5/3/2020    1926   515    38       350   148   0   2977
5/4/2020    1984   543    40       356   149   0   3072
5/5/2020    2066   561    41       359   149   0   3176
5/6/2020    2100   559    42       365   149   0   3215
5/7/2020    2646   591    44       244   278   0   3803
5/8/2020    3082   619    45       248   279   0   4273
5/9/2020    3330   624    46       250   279   0   4529
5/10/2020   3319   656    48       250   279   0   4552
5/11/2020   3379   656    49       250   279   0   4613
5/12/2020   2817   1288   50       279   279   0   4713
5/13/2020   2820   1353   51       266   282   0   4772
5/14/2020   2322   1809   52       272   284   0   4739
5/15/2020   2296   1874   55       275   287   0   4787
5/16/2020   2280   1950   56       283   287   0   4856
5/17/2020   2319   1955   56       284   287   0   4901
5/18/2020   2338   1971   57       196   375   0   4937
5/19/2020   2298   2109   57       198   375   0   5037
5/20/2020   2267   2177   58       188   389   0   5079

                               6
5/21/2020   1735   2767   59       191   392   0   5144
5/22/2020   1594   3047   59       194   394   0   5288
5/23/2020   1603   3057   59       194   395   0   5308
5/24/2020   1558   3144   59       186   403   0   5350
5/25/2020   1556   3144   59       175   414   0   5348
5/26/2020   1577   3180   64       181   413   0   5415
5/27/2020   1747   3232   64       187   413   0   5643
5/28/2020   1693   3318   64       187   417   0   5679
5/29/2020   1610   3547   66       189   420   0   5832
5/30/2020   1649   3582   66       192   420   0   5909
5/31/2020   1629   3605   67       177   435   0   5913
6/1/2020    1650   3613   68       171   445   0   5947
6/2/2020    1904   3631   71       175   448   0   6229
6/3/2020    1956   3689   72       176   450   0   6343
6/4/2020    1993   3681   75       179   451   1   6380
6/5/2020    1981   3785   77       181   452   1   6477
6/6/2020    1957   3868   78       183   452   1   6539
6/7/2020    1999   3936   78       185   452   1   6649
6/8/2020    2068   3957   78       185   452   1   6741
6/9/2020    2125   3975   78       190   453   1   6822
6/10/2020   2134   3972   79       190   456   1   6832
6/11/2020   2024   4080   80       191   457   1   6833
6/12/2020   1622   4503   80       196   457   1   6859
6/13/2020   1374   4775   82       185   472   1   6889
6/14/2020   1324   4817   84       160   497   1   6883
6/15/2020   1220   4918   85       168   498   1   6890
6/16/2020   1209   4940   85       168   502   1   6905
6/17/2020   1190   4970   85       170   502   1   6918
6/18/2020   1266   4960   85       171   503   1   6986
6/19/2020   1318   4955   85       164   516   1   7039
6/20/2020   1327   4953   86       166   516   1   7049
6/21/2020   1351   4953   86       169   516   1   7076
6/22/2020   1346   4955   87       172   516   1   7077

                               7
6/23/2020   1349   4975   87       163   528   1   7103
6/24/2020   1260   5080   88       141   555   1   7125
6/25/2020   1249   5115   89       133   571   1   7158
6/26/2020   1263   5116   89       133   574   1   7176
6/27/2020   1386   5115   89       136   574   1   7301
6/28/2020   1422   5114   89       137   574   1   7337
6/29/2020   1442   5116   89       143   574   1   7365
6/30/2020   1513   5113   90       152   575   1   7444
7/01/2020   1563   5135   90       164   579   1   7532
7/02/2020   1634   5138   91       170   584   1   7618
7/03/2020   1813   5131   92       177   584   1   7798
7/04/2020   1888   5134   93       177   584   1   7877
7/05/2020   1932   5137   94       177   584   1   7925
7/06/2020   1992   5137   94       160   603   1   7987
7/07/2020   2163   5147   94       190   603   1   8189
7/08/2020   2267   5128   94       211   603   1   8304
7/09/2020   2459   5137   94       236   603   1   8530
7/10/2020   2666   5137   94       248   603   1   8749
7/11/2020   2860   5137   94       242   615   1   8949
7/12/2020   2983   5140   94       242   615   1   9075
7/13/2020   3112   5141   95       259   615   1   9223




                               8
                   COVID-19 Rate of Infection for Various Populations

                                                                             Infection Rate as
                                                            Infections/         Percent of
        Location              Cases       Population       1,000 People         Population
BOP Imprisoned
Population                 8,2153        143,6564        57.19             5.7185%



  3 Includes the number of BOP inmates who have tested positive for COVID-19, the number of
  BOP inmates who have recovered, and the number of BOP inmates who have died from COVID-
  19. Numbers obtained from www.bop.gov/coronavirus on a daily basis. There is good reason to
  believe that the numbers reported by the BOP understate the actual number of tested-positive
  cases. Compare M. Licon-Vitale, MCC Ward, and D. Edge, MDC Warden, Response to EDNY
  Administrative Order 2020-14 (Apr. 7, 2020) at
  https://www.nyed.uscourts.gov/pub/bop/MDC_20200407_042057.pdf (3 positive inmates at
  MDC Brooklyn) with COVID-19 Cases Federal Bureau of Prisons (Apr. 7, 2020) at
  www.bop.gov/coronavirus (2 positive inmates at MDC Brooklyn).
  4 Includes the number of federal inmates in BOP-managed institutions, the number of federal
  inmates in community-based facilities, and the number of federal inmates who have died from
  COVID-19. Numbers obtained from www.bop.gov/coronavirus on a daily basis.
                                                  9
United States              3,341,838      329,947,014 5  10.13              1.0128%
China                      85,1176        1,394,015,9777 0.06               0.0061%
Italy                      243,2308       62,402,6599    3.90               0.3898%

                                            BOP has an infection rate X times
                                            higher
             Compared to the United
             States                         5.65
             Compared to China              936.56
             Compared to Italy              14.67




             Rate of Rise of Reported COVID-19 Cases in Bureau of Prisons10
                           and the United States 11, Every 3 Days

                                             Cumulative                               Cumulative
                                             BOP Rate      Number of                   U.S. Rate
                 Number of     BOP Rate                                  U.S. Rate
      Date                                     of Rise      National                    of Rise
                 BOP Cases      of Rise                                   of Rise
                                                Since        Cases                       Since
                                              3/20/2020                                3/20/2020
    3/20/2020         2          0.00%         0.00%         18,747        0.00%         0.00%
    3/23/2020         6         200.00%       200.00%        44,183       135.68%       135.68%
    3/26/2020        18         200.00%       400.00%        85,356       93.19%        228.87%
    3/29/2020        39         116.67%       516.67%       140904        65.08%        293.95%
     4/1/2020        97         148.72%       665.38%       213144        51.27%        345.21%
     4/4/2020        182         87.63%       753.01%       304826        43.01%        388.23%


  5 Numbers obtained on 7/13/2020 at 4:10pm from https://coronavirus.jhu.edu/map.html
  6 Numbers obtained on 7/13/2020 at 4:10pm from https://coronavirus.jhu.edu/map.html
  7 Numbers obtained on 7/13/2020 at 4:11pm from https://www.census.gov/popclock/
  8 Numbers obtained on 7/13/2020 at 4:10pm from https://coronavirus.jhu.edu/map.html
  9 Numbers obtained on 7/13/2020 at 4:11pm from https://www.census.gov/popclock/
  10 Numbers obtained from www.bop.gov/coronavirus on a daily basis. There is good reason to
  believe that the numbers reported by the BOP understate the actual number of tested-positive
  cases. Compare M. Licon-Vitale, MCC Ward, and D. Edge, MDC Warden, Response to EDNY
  Administrative Order 2020-14 (Apr. 7, 2020) at
  https://www.nyed.uscourts.gov/pub/bop/MDC_20200407_042057.pdf (3 positive inmates at
  MDC Brooklyn) with COVID-19 Cases Federal Bureau of Prisons (Apr. 7, 2020) at
  www.bop.gov/coronavirus (2 positive inmates at MDC Brooklyn).
  11 Numbers obtained from https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
  us.html
                                                10
4/7/2020    321     76.37%   829.39%     395011     29.59%   417.81%
4/10/2020   513     59.81%   889.20%    492,416     24.66%   442.47%
4/13/2020   633     23.39%   912.59%    579,005     17.58%   460.06%
4/16/2020   857     35.39%   947.98%    661,712     14.28%   474.34%
4/19/2020   1,010   17.85%   965.83%    746,625     12.83%   487.17%
4/22/2020   1,232   21.98%   987.81%    828,441     10.96%   498.13%
4/25/2020   1,580   28.25%   1016.06%   928,619     12.09%   510.23%
4/28/2020   2,215   40.19%   1056.25%   981,246     5.67%    515.89%
5/1/2020    2,876   29.84%   1086.09%   1,062,446   8.28%    524.17%
5/4/2020    3,072   6.82%    1092.91%   1,152,372   8.46%    532.63%
5/7/2020    3,803   23.80%   1116.70%   1,219,066   5.79%    538.42%
5/10/2020   4,552   19.69%   1136.40%   1,300,696   6.70%    545.12%
5/13/2020   4,772   4.83%    1141.23%   1,364,061   4.87%    549.99%
5/16/2020   4,856   1.76%    1142.99%   1,446,196   6.02%    556.01%
5/19/2020   5,037   3.73%    1146.72%   1,504,830   4.05%    560.06%
5/22/2020   5,288   4.98%    1151.70%   1,571,617   4.44%    564.50%
5/25/2020   5,348   1.13%    1152.83%   1,637,456   4.19%    568.69%
5/28/2020   5,679   6.19%    1159.02%   1,698,523   3.73%    572.42%
5/31/2020   5,913   4.12%    1163.14%   1,761,503   3.71%    576.13%
6/3/2020    6,343   7.27%    1170.42%   1,827,425   3.74%    579.87%
6/6/2020    6,539   3.09%    1173.51%   1,891,690   3.52%    583.39%
6/9/2020    6,822   4.33%    1177.83%   1,971,302   4.21%    587.59%
6/12/2020   6,859   0.54%    1178.38%   2,036,429   3.30%    590.90%
6/15/2020   6,890   0.45%    1178.83%   2,105,482   3.39%    594.29%
6/18/2020   6986    1.39%    1180.22%   2,177,842   3.44%    597.73%
6/21/2020   7076    1.29%    1181.51%   2,292,867   5.28%    603.01%
6/24/2020   7125    0.69%    1182.20%   2,364,874   3.14%    606.15%
6/27/2020   7301    2.47%    1184.67%   2,462,492   4.13%    610.28%
6/30/2020   7444    1.96%    1186.63    2,623,217   6.53%    616.80%
7/3/2020    7798    4.76%    1191.39%   2,724,640   3.87%    620.67%
7/6/2020    7987    2.42%    1193.81%   2,911,888   6.87%    627.54%
7/9/2020    8530    6.80%    1200.61%   3,084,690   5.93%    633.48%
7/12/2020   9075    6.39%    1200.61%   3,286,025   6.53%    640.00%


                              11
                          Cumulative Rate of Rise of COVID-19 Infections
 1400.00%

 1200.00%

 1000.00%

  800.00%

  600.00%

  400.00%

  200.00%

    0.00%




               Cumulative BOP Rate of Rise Since 3/20/2020   Cumulative U.S. Rate of Rise Since 3/20/2020



       Mr. Carpenter is 46 years old. He suffers serious medical conditions that place him in that

group: hypertension, diabetes, obesity, and hyperlipidemia. (Exhibit 3 – Medical records filed

under seal). The CDC and other medical authorities have made clear that COVID-19 is especially

dangerous for both older people and people with severe chronic medical conditions. See

https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/high-risk-complications/older-

adults.html. Eight out ten deaths reported in the United States have been in older adults. Id. Those

with certain serious health concerns—including chronic lung disease, moderate to severe asthma,

compromised immune systems, diabetes, severe obesity, renal failure, and liver disease—are also

especially vulnerable to and at higher risk for serious complications from COVID-19, including

death. See https://www.cdc.gov/coronavirus/2019-ncov/hcp/underlying-conditions.html. Mr.

Carpenter’s obesity, diabetes and hypertension places him in the group of people with severe

chronic medical conditions. He is among those with the highest risk of death or serious illness

from COVID-19. Yet, as a Bureau of Prisons inmate, it is impossible for Mr. Carpenter to follow
                                                      12
the CDC’s recommendations to protect himself from exposure to this highly-transmissible disease.

This risk of serious illness or death from the unprecedented global pandemic, together with all of

the other relevant factors in this case, presents an extraordinary and compelling basis for sentence

reduction in Mr. Carpenter’s case.

       Mr. Carpenter is at FCI Edgefield which has 1 inmate and 23 staff members currently

positive for COVID-19. There have been 3 inmate deaths at this facility.

V.     Precedent

       Multiple courts have found that the threat of COVID-19 presents “extraordinary and

compelling reasons” for compassionate release. See United States, No. CR ELH-18-72, 2020 WL

2614816, at *7 (D. Md. May 22, 2020) (“[J]ust last week, the Department of Justice adopted the

position that any inmate who suffers from the chronic conditions associated with severe illness

from COVID-19 are eligible for compassionate release.”); United States v. Atkinson, 2020 WL

1904585, at *3 (D. Nev. Apr. 17, 2020) (“The presence of COVID-19 . . . necessitates a more

expansive interpretation of what self-care means” to include COVID-19 vulnerability coupled with

the inability to practice CDC-recommended procedures to safeguard against transmission); U.S. v.

Esparza, 2020 WL 1696084, at * (D. Idaho Apr. 7, 2020) (same); see also Government’s Response

in Opposition to Defendant’s Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i),

United States v. Hird, Case No. 2:13-cr-39-TJS, Dkt. No. 650 (E.D. Pa. May 19, 2020)

(government concession that “the risk of COVID-19” to a vulnerable inmate “presents ‘a serious

physical or medical condition . . . that substantially diminishes the ability of the defendant to

provide self-care within the environment of a correctional facility”); United States v. Copeland,

No. 2:05-cr-135-DCN (D.S.C. Mar. 24, 2020) (granting First Step Act release to defendant in part

due to “Congress’s desire for courts to release individuals the age defendant is, with the ailments

that defendant has during this current pandemic”); United States v. Jaffee, No. 19-cr-88 (D.D.C.
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Mar. 26, 2020) (releasing defendant with criminal history in gun & drug case, citing “palpable”

risk of spread in jail and “real” risk of “overburdening the jail’s healthcare resources”; “the Court

is . . . convinced that incarcerating the defendant while the current COVID-19 crisis continues to

expand poses a greater risk to community safety than posed by Defendant’s release to home

confinement”); United States v. Harris, No. 19-cr-356 (D.D.C. Mar. 26, 2020) (“The Court is

convinced that incarcerating Defendant while the current COVID-19 crisis continues to expand

poses a far greater risk to community safety than the risk posed by Defendant’s release to home

confinement on . . . strict conditions.”); United States v. Perez, No. 19 CR. 297 (PAE), 2020 WL

1329225, at *1 (S.D.N.Y. Mar. 19, 2020) (releasing defendant due to the “heightened risk of

dangerous complications should he contract COVID-19”); United States v. Stephens, 2020 WL

1295155, __ F. Supp. 3d __ (S.D.N.Y. Mar. 19, 2020) (releasing defendant in light of “the

unprecedented and extraordinarily dangerous nature of the COVID-19 pandemic”); United States

v. Perez, No. 1:17-cr-513-AT, Dkt. No. 98 (S.D.N.Y. Apr. 1, 2020) (granting compassionate

release where “[t]he benefits of keeping [Perez] in prison for the remainder of his sentence are

minimal, and the potential consequences of doing so are extraordinarily grave”); United States v.

Rodriguez, No. 2:03-cr-271-AB, Dkt. No. 135 (E.D. Pa. Apr. 1, 2020) (granting release after

finding risk factors for COVID-19 constitute extraordinary and compelling reason and noting that

prisons are “tinderboxes for infectious disease”); United States v. Williams, No. 3:04-cr-95-MCR-

CJK, Dkt. No. 91 (Apr. 1, 2020) (compassionate release in light of severe risk posed to defendant

by COVID-19); United States v. Campagna, 2020 WL 1489829 (S.D.N.Y. Mar. 27, 2020)

(compassionate release grant).

       As a result of these recent COVID-19 facts, courts have found that inmates who have

tested positive for COVID-19 and who have recovered are eligible for compassionate release, as

contracting the virus once does not mean an inmate is immune and the facilities in which they
                                                 14
reside have proven that they are unable to protect inmates from the virus. See United States v.

Barajas, No. 18-CR-736-4 (NSR), 2020 WL 3638584 (S.D.N.Y. July 6, 2020); United States v.

Jacobs, No. 4:19-CR-00149, 2020 WL 3637625 (S.D. Iowa July 2, 2020); United States v.

Chargualaf, No. CR 95-00054, 2020 WL 3619007 (D. Guam July 2, 2020); United States v.

Rachal., No. CR 16-10043-NMG, 2020 WL 3545473 (D. Mass. June 30, 2020); United States v.

Heyward, No. 17-CR-527-PWG, 2020 WL 3547018 (D. Md. June 30, 2020); United States v.

Yellin, No. 3:15-CR-3181-BTM-1, 2020 WL 3488738 (S.D. Cal. June 26, 2020); United States,

v. Kess, No. CR ELH-14-480, 2020 WL 3268093 (D. Md. June 17, 2020); United States v.

Williams, No. 19-CR-134-PWG, 2020 WL 3073320 (D. Md. June 10, 2020); United States v.

Snell, No. CR 16-20222-6, 2020 WL 2850038 (E.D. Mich. June 2, 2020); United States v.

Barber, 6:18-cr-00446-AA, Dkt. No. 55 (D. Or. May 12, 2020); United States v. Huntley, 1:13-

cr-0119-ABJ-1, Dkt. No. 263 (D. D.C. May 5, 2020); United States v. Fischman, 4:16- cr-00246-

HSG-1, 2020 WL 2097615 (N.D. Cal. May 1, 2020); United States v. Johnson, 1:17-cr- 00482-

JSR-1, Dkt. No. 116 (S.D. N.Y. May 1, 2020) (Rakoff, J.).

        The sum of Mr. Carpenter’s conditions creates “extraordinary and compelling reasons” for

his release.


VI.   A Sentence Reduction is Consistent with Consideration of the 18 U.S.C. § 3553(a)
Factors

        When extraordinary and compelling reasons are established, the Court must consider the

relevant sentencing factors in § 3553(a) to determine whether a sentence reduction is warranted.

18 U.S.C. § 3582(c)(1)(A)(i). Under all of the circumstances in this case, the Court should

conclude that the time that Mr. Carpenter has already served is sufficient to satisfy the purposes of

sentencing. Under Pepper v. United States, 562 U.S. 476, 490-93 (2011), the Court can, and indeed

must, consider post-offense developments under § 3553(a).
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       Moreover, the circumstances facing the Court today with the COVID-19 crisis provide

justification to act decisively. Although Mr. Carpenter’s crime certainly deserved punishment, it

does not rise to the level of a crime that would merit a death sentence. Leaving Mr. Carpenter in

FCI Edgefield would put him at great danger of a painful and inhumane death. But given the fact

that COVID-19 is exponentially rising in prisons all over the country, transferring him to another

facility does not protect him or others from that fate.

       In sum, the totality of the circumstances demonstrates that reducing Mr. Carpenter’s

sentence to time served or releasing him to serve the balance of his sentence on home confinement

is “sufficient, but not greater than necessary,” to serve the purposes of sentencing under § 3553(a).

Should the Court deem it necessary, the Court may substitute the incarceration time for additional

supervised release. Mr. Carpenter should be allowed to recover from home, self-quarantining

there rather than remaining at the Bureau of Prisons subject to contracting the disease again once

he has fully recovered. Upon his release, he plans to live with his wife in Whitesburg, Tennessee.

Here, he will have emotional and financial support, along with access to medical care that is

necessary to treat his medical conditions. With his medical conditions, his desire to be with his

family, and his family’s desire to be with him, Mr. Carpenter poses little to no risk of reoffending.



VII. Conclusion

       The threat of COVID-19 is very real in Edgefield, South Carolina. Mr. Carpenter is

statutorily eligible for release, and does not present a danger to society. Thus, it is appropriate for

this Court to grant a reduction in his sentence to time served.




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      RESPECTFULLY SUBMITTED:

      FEDERAL DEFENDER SERVICES OF
      EASTERN TENNESSEE, INC.

BY:   s/ Nikki C. Pierce
      Nikki C. Pierce
      BPR No. 018181
      Federal Defender Services
      219 West Depot Street, Suite 2
      Greeneville, TN 37743
      (423) 636-1301




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